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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION

IN RE: BOSTON SCIENTIFIC CORPORATION
       PELVIC SUPPORT SYSTEMS
       PRODUCTS LIABILITY LITIGATION

                                                                  MDL 2326
_____________________________________________________________________________

THIS DOCUMENT RELATES TO THE
CASES IN EXHIBIT A ATTACHED HERETO

                                  INACTIVE DOCKET ORDER

         The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the plaintiffs and Boston Scientific Corporation1 ("BSC") have agreed to a settlement model with

regard to BSC. The Court, therefore, finds it unnecessary to conduct further proceedings or to

keep these cases on the active docket. Accordingly, the Court ORDERS as follows:

         1.      All discovery deadlines are continued until further order of the Court.

         2.      That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

         3.      Plaintiffs and BSC may submit an agreed order of dismissal with prejudice on or

before March 16, 2017, if settlements are not finalized and dismissal orders are not submitted on

or before March 16, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

         Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed

to a settlement model for a group of cases and claims, including those on Exhibit A. The Court
1
    Boston Scientific Corporation includes any incorrect or incomplete spellings of this Defendant,
         including Boston Scientific Corp.


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will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2326 and in the

individual cases listed on the attached Exhibit A. The Clerk further DIRECTED to link this

Order to the Proposed Inactive Docket Order filed at ECF No. 1721, and send a copy of this

Order to counsel of record and any represented party. The Clerk is further DIRECTED to send

a copy of this Order to counsel of record and any unrepresented party.



                                                       ____________________________________
                                                       JOSEPH R. GOODWIN
                                                       UNITED STATES DISTRICT COURT




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                        EXHIBIT A MOTLEY RICE (1) LAW FIRM

CIVIL ACTION NUMBER                                           CASE NAME
(listed numerically in ascending order)
12-cv-02962                               CARPENTER, Dionis and Dennis Carpenter vs. Boston
                                          Scientific, Inc. and John Doe Corporations 1-50
                                          (fictitious)

12-cv-02969                               COOK, Vicky and David Cook vs. Boston Scientific, Inc.
                                          and John Doe Corporations 1-50 (fictitious)

12-cv-03204                               BROWN, Nancy vs. Boston Scientific Corp., (d/b/a
                                          Mansfield Scientific, Inc., Microvasive Inc.) and John
                                          Doe Corporations 1-50 (fictitious)

12-cv-03317                               SMITH, Sandra and John Smith vs. Boston Scientific,
                                          Inc. and John Doe Corporations 1-50 (fictitious)

12-cv-07827                               MOUNT, Cathleen and Steven Mount vs. Boston
                                          Scientific Corporation

12-cv-09003                               READING, Sandra vs. Boston Scientific Corporation
12-cv-09591                               HALL, Carole and Melvin Hall vs. Boston Scientific
                                          Corporation
12-cv-09597                               BARCOME, Carol and Lawrence Barcome vs. Boston
                                          Scientific Corporation

12-cv-09598                               HARRIS, Jennifer and Christopher Harris vs. Boston
                                          Scientific Corporation

13-cv-01834                               FIESCHKO, Lillian and Frank Fieschko vs. Boston
                                          Scientific Corporation

13-cv-02841                               HAMILTON, Laurette vs. Boston Scientific Corporation


13-cv-03424                               STEPHENS, Felicia vs. Boston Scientific Corporation

13-cv-03998                               SMITH, Karen and Michael Smith vs. Boston Scientific
                                          Corporation

13-cv-04009                               AYERS, Sandra and Carmen Ayers vs. Boston Scientific
                                          Corporation



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13-cv-06059                      GARRISON, Stephanie and David Garrison vs. Boston
                                 Scientific Corporation

13-cv-06060                      RODERICK, Michelle and Michael Roderick vs. Boston
                                 Scientific Corporation

13-cv-06061                      MORALES, Barbara vs. Boston Scientific Corporation

13-cv-06064                      RICE, Patricia and Rex Rice vs. Boston Scientific
                                 Corporation

13-cv-09544                      SHORT, Vera vs. Boston Scientific Corporation

13-cv-09545                      RABIDEAU, Margaret vs. Boston Scientific Corporation

13-cv-09802                      SOTIRAKOS, Maria and Michael Sotirakos vs. Boston
                                 Scientific Corporation

13-cv-10053                      STOCKARD, Stephanie and Erskine Stockard vs. Boston
                                 Scientific Corporation

13-cv-11695                      TOON, Regina vs. Boston Scientific Corporation
13-cv-22652                      FESLER, Mary vs. Boston Scientific Corporation


13-cv-22655                      SCARBORO, Jody and Scotty Scarboro vs. Boston
                                 Scientific Corporation

13-cv-22657                      HELINSKI, Roxanne and Terry Helinski vs. Boston
                                 Scientific Corporation

13-cv-22661                      PATTON-BROWN, Victoria and Lee Brown vs. Boston
                                 Scientific Corporation

13-cv-22662                      GRAHAM, Glenda vs. Boston Scientific Corporation

13-cv-23028                      VUKAS, Melissa vs. Boston Scientific Corporation

13-cv-23031                      RIOS, Terry and Wayne Budgell vs. Boston Scientific
                                 Corporation




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13-cv-23320                      RICE, Angela and Curt Rice vs. Boston Scientific
                                 Corporation

13-cv-23323                      DAVIS, Sharon vs. Boston Scientific Corporation

13-cv-23326                      SQUIBB, Lisa vs. Boston Scientific Corporation

13-cv-23327                      STOOKEY, Theresa vs. Boston Scientific Corporation

13-cv-23331                      HARLOW, Judy vs. Boston Scientific Corporation

13-cv-23333                      RUSCHEINSKY, Susan and Thomas Mueller vs. Boston
                                 Scientific Corporation

13-cv-23818                      MONTAGUE, Myrtle vs. Boston Scientific Corporation

13-cv-23822                      SIMMONS, Sandra vs. Boston Scientific Corporation


13-cv-23823                      STRINGER, Candace and Vance Stringer vs. Boston
                                 Scientific Corporation

13-cv-23827                      DUNLAP, Elizabeth and John Dunlap vs. Boston
                                 Scientific Corporation

13-cv-23828                      ROUSSEAU, Lillian and Glen Rousseau vs. Boston
                                 Scientific Corporation

13-cv-24590                      HALL, Nancy vs. Boston Scientific Corporation
13-cv-24601                      RIDDLE, Tina vs. Boston Scientific Corporation

13-cv-25301                      TAYLOR, Nechole and Walter Taylor vs. Boston
                                 Scientific Corporation

13-cv-25306                      TORREZ, Elizabeth and Robert Torrez vs. Boston
                                 Scientific Corporation

13-cv-25307                      THOMASON, Cassandra and James Thomason, Jr. vs.
                                 Boston Scientific Corporation

13-cv-25309                      SWEENEY, Diana vs. Boston Scientific Corporation




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13-cv-25312                      STEELE, Donna and Mark Steele vs. Boston Scientific
                                 Corporation

13-cv-25314                      SKOBEL, Lottie and James Skobel vs. Boston Scientific
                                 Corporation
13-cv-25986                      BUCHANAN, Jolinda and Robert Buchanan vs. Boston
                                 Scientific Corporation

13-cv-25992                      GAILY, Sherry and Kirk Gailey vs. Boston Scientific
                                 Corporation

13-cv-25995                      GAU, Marsha vs. Boston Scientific Corporation

13-cv-25999                      GARCIA, Diane and Ernesto Garcia vs. Boston Scientific
                                 Corporation

13-cv-26003                      DAWSON, Nora vs. Boston Scientific Corporation

13-cv-26005                      DAVIS, Sheila and William Davis vs. Boston Scientific
                                 Corporation

13-cv-26934                      TILLIE, Betty Pigatt and Edward Tillie vs. Boston
                                 Scientific Corporation

13-cv-26938                      GWIZDALSKI, Robin and Steven Gwizdalski vs. Boston
                                 Scientific Corporation

13-cv-26943                      VEGA, Donna and Wilfredo Vega vs. Boston Scientific
                                 Corporation
13-cv-27780                      TULL, Beverly vs. Boston Scientific Corporation
13-cv-27781                      THIVIERGE, Virginia vs. Boston Scientific Corporation

13-cv-27782                      PANNELL, Christina and Adam Pannell vs. Boston
                                 Scientific Corporation

13-cv-27784                      EDGEMAN, Mary and Wallace Edgeman vs. Boston
                                 Scientific Corporation
13-cv-27789                      ROGERS, Kamelia vs. Boston Scientific Corporation

13-cv-27790                      DUNCAN, Donita vs. Boston Scientific Corporation

13-cv-28283                      MOORE, Tania Nicole vs. Boston Scientific Corporation




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13-cv-28497                      TITUS, Susan and William Titus, Jr. vs. Boston Scientific
                                 Corporation
13-cv-29194                      FRASCONA, Diane and Jerry Frascona, Sr. vs. Boston
                                 Scientific Corporation
13-cv-29198                      SALATA, Grace vs. Boston Scientific Corporation

13-cv-29202                      OSBORNE, Nellie and Samuel Osborne vs. Boston
                                 Scientific Corporation

13-cv-29284                      RACHEL, Patricia and Loyd Rachel vs. Boston Scientific
                                 Corporation

13-cv-29937                      HARDEN, Angela vs. Boston Scientific Corporation

13-cv-29940                      HARRIS, Martha vs. Boston Scientific Corporation

13-cv-29945                      CONCORD, Nancy and Rayburn Concord vs. Boston
                                 Scientific Corporation
13-cv-30431                      PHILLIPS, Debra vs. Boston Scientific Corporation

13-cv-30436                      REDEKOP, Tracy and Gene Hulford vs. Boston Scientific
                                 Corporation
13-cv-30457                      PARRISH, Brandy and Barry Parrish vs. Boston
                                 Scientific Corporation

13-cv-30468                      FLICK, Theresa vs. Boston Scientific Corporation


13-cv-30473                      GLASSBURN, Nancy vs. Boston Scientific Corporation

13-cv-31005                      STUCZYNSKI, Cecilia vs. Boston Scientific Corporation

13-cv-31015                      NORLIN, Nicole vs. Boston Scientific Corporation

13-cv-31022                      SMITH, Cherry vs. Boston Scientific Corporation

13-cv-31025                      GRISHAM, Geneva vs. Boston Scientific Corporation

13-cv-31026                      SPANN, Barbara and James Spann vs. Boston Scientific
                                 Corporation




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13-cv-31038                      HAYMON, Mona vs. Boston Scientific Corporation

13-cv-31045                      SIPLE, Terri and Randy Siple vs. Boston Scientific
                                 Corporation

13-cv-32937                      ROSSITER, Thelma vs. Boston Scientific Corporation

13-cv-32939                      CARNEY, Robin and Larry Carney vs. Boston Scientific
                                 Corporation

13-cv-32941                      CAROTHERS, Janet and Thomas Carothers vs. Boston
                                 Scientific Corporation

13-cv-32942                      DANIEL, Crystal vs. Boston Scientific Corporation

13-cv-32946                      AUSTIN, Wanda vs. Boston Scientific Corporation

13-cv-32950                      BENEDETTO, Gerry vs. Boston Scientific Corporation

14-cv-00896                      ROHRABAUGH, Martha and Jack Rohrabaugh vs.
                                 Boston Scientific Corporation

14-cv-00897                      EILBECK, Katherine vs. Boston Scientific Corporation


14-cv-00908                      EILAND, Lucile Annette and James Eiland vs. Boston
                                 Scientific Corporation

14-cv-00919                      HENRY, Linda and George R. Henry vs. Boston
                                 Scientific Corporation

14-cv-00929                      SCHULTE, Tracy vs. Boston Scientific Corporation
14-cv-00953                      PHINAZEE, Robyn       Elaine   vs.   Boston   Scientific
                                 Corporation

14-cv-00961                      ROMANO, Jennifer and Mario Romano vs. Boston
                                 Scientific Corporation

14-cv-00963                      SOSA, Josephine and Mario Sosa vs. Boston Scientific
                                 Corporation

14-cv-01943                      MONROE, Cheryl vs. Boston Scientific Corporation



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14-cv-01959                      TODD, Vicky L. and Edmond D. Todd vs. Boston
                                 Scientific Corporation

14-cv-01988                      RANDOLPH, LeAndra and Ronald Randolph vs. Boston
                                 Scientific Corporation

14-cv-02023                      PATE, Phyllis and Michael Pate vs. Boston Scientific
                                 Corporation

14-cv-02041                      MORROW, Rose          Marie    vs.   Boston      Scientific
                                 Corporation

14-cv-02062                      HARRELL, Deborah and William Harrell and Boston
                                 Scientific Corporation

14-cv-02501                      RODRIGUEZ, Hilda R. vs. Boston Scientific Corporation


14-cv-02568                      REID, Deanna vs. Boston Scientific Corporation

14-cv-04080                      HERNANDEZ, Lisa vs. Boston Scientific Corporation

14-cv-04103                      PATTERSON, Selina K. vs. Boston Scientific Corporation

14-cv-04108                      ROSS, Shirley J. vs. Boston Scientific Corporation

14-cv-04114                      MURRAH, Judy vs. Boston Scientific Corporation

14-cv-04124                      BRITTON, Mary vs. Boston Scientific Corporation

14-cv-04142                      DIANGELO, Kristina vs. Boston Scientific Corporation

14-cv-04913                      FAIR, Marcia vs. Boston Scientific Corporation

14-cv-04931                      DAVIS, Stephanie vs. Boston Scientific Corporation

14-cv-04953                      SATER, Virginia vs. Boston Scientific Corporation

14-cv-05206                      GILBERT, Gerlinde Romona vs. Boston Scientific
                                 Corporation

14-cv-05236                      COLLINS, Tina vs. Boston Scientific Corporation




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14-cv-05622                       SHIELDS, Lori vs. Boston Scientific Corporation

14-cv-05650                       BATAC, Maria Teresa vs. Boston Scientific Corporation


14-cv-05676                       DOTSON, Sheila vs. Boston Scientific Corporation

14-cv-05693                       DRUSELL, Donna Sue and Jerry Drusell, Sr. vs. Boston
                                  Scientific Corporation

14-cv-06244                       PEDIGO, Charlotte and Ruel Parrish Pedigo, Jr. vs.
                                  Boston Scientific Corporation


14-cv-06253                       GREATHOUSE, Jenis vs. Boston Scientific Corporation

14-cv-06256                       GREEN, Melissa Diane and Jason Green vs. Boston
                                  Scientific Corporation

14-cv-06266                       PRUITT, Alexis vs. Boston Scientific Corporation


14-cv-08003                       ROBINSON, Dolores vs. Boston Scientific Corporation

14-cv-08011                       VAUGHN, Charlotte vs. Boston Scientific Corporation

14-cv-08023                       SELLARO, Krisa Marie vs. Boston Scientific Corporation

14-cv-08029                       SCOTT, Barbara vs. Boston Scientific Corporation

14-cv-08039                       SEIDELMAN, Julie B. and James A. Seidelman vs.
                                  Boston Scientific Corporation

14-cv-08043                       TABB, Cynthia Kay and Ronnie Michael Tabb vs.
                                  Boston Scientific Corporation

14-cv-08051                       ROWDEN, Maribel and Londell E. Rowden vs. Boston
                                  Scientific Corporation

14-cv-08331                       PARSONS, Carol vs. Boston Scientific Corporation

14-cv-08355                       VARELA, Susan vs. Boston Scientific Corporation
14-cv-08363                       MITCHELL, Fady vs. Boston Scientific Corporation




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14-cv-08369                       PERKINS, Marni and Terrence Perkins vs. Boston
                                  Scientific Corporation

14-cv-08373                       SCHMITT, Elaine vs. Boston Scientific Corporation

14-cv-09444                       FAREIRA, Virginia and Charles Fareira vs. Boston
                                  Scientific Corporation

14-cv-16519                       FERRO, Mary vs. Boston Scientific Corporation

14-cv-21255                       BULLARD, Cynthia Ann and Richard Bullard vs. Boston
                                  Scientific Corporation

14-cv-21578                       ERDVIG, Birgen and Paul Erdvig vs. Boston Scientific
                                  Corporation

14-cv-21855                       PALMER, Sylvia Lucinda and George Palmer vs. Boston
                                  Scientific Corporation

14-cv-21891                       RUSSELL, Ruth A. vs. Boston Scientific Corporation

14-cv-24864                       MOORE, Karen vs. Boston Scientific Corporation

14-cv-26836                       DUDLEY, Deloria Diane and Jack Dudley vs. Boston
                                  Scientific Corporation

14-cv-26843                       SAGER, Patricia Ann Bowers and Dwayne Sager vs.
                                  Boston Scientific Corporation

14-cv-26883                       STEFANIAK, Lavina Rose and Frank J. Stefaniak, Jr. vs.
                                  Boston Scientific Corporation

14-cv-27155                       PETERSON, Thelma Ruth and Eric Joseph Peterson vs.
                                  Boston Scientific Corporation

14-cv-27350                       DAVIS, Linda vs. Boston Scientific Corporation

14-cv-27614                       ASHMORE, Donna vs. Boston Scientific Corporation

14-cv-27644                       O'HARA, Heather vs. Boston Scientific Corporation

15-cv-00889                       BARNHILL, Donna vs. Boston Scientific Corporation




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15-cv-00892                       OWEN, Sherilee and Richard Owen vs. Boston
                                  Scientific Corporation

15-cv-00904                       PROCTOR, Elaine and George Sinclair vs. Boston
                                  Scientific Corporation
15-cv-01059                       CASTRO, Virginia vs. Boston Scientific Corporation
15-cv-02037                       STUBBLEFIELD, Marsha R. and Harold Stubblefield vs.
                                  Boston Scientific Corporation

15-cv-02042                       BEECH, Laree Sharon vs. Boston Scientific Corporation

15-cv-02043                       GRANT, Jean Ann vs. Boston Scientific Corporation

15-cv-02046                       OLDEBEKEN,     April   Dawn    vs.   Boston     Scientific
                                  Corporation

15-cv-02050                       SOX, Vonnie Lynn vs. Boston Scientific Corporation

15-cv-02583                       PITEO, Beverly and Michael J. Piteo vs. Boston
                                  Scientific Corporation

15-cv-02584                       RODRIGUEZ, Alma vs. Boston Scientific Corporation

15-cv-02587                       ADCOX, Faith J. and Robert Adcox vs. Boston Scientific
                                  Corporation
15-cv-03283                       NEUBEN, Lynn B. vs. Boston Scientific Corporation

15-cv-03285                       PERRIN, Ann vs. Boston Scientific Corporation

15-cv-03286                       SMITHSON, Laurie Lynn and Michael L. Smithson vs.
                                  Boston Scientific Corporation

15-cv-03287                       STICKLER, Elizabeth vs. Boston Scientific Corporation

15-cv-03291                       TRACEWICZ, Elzbieta vs. Boston Scientific Corporation

15-cv-03292                       ULLOA, Rosaura and Faustino Rivas vs. Boston
                                  Scientific Corporation

15-cv-03293                       VEACH, Anna and William Veach vs. Boston Scientific
                                  Corporation




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15-cv-03381                       DALTON, Vickie and Ralph Dalton vs. Boston Scientific
                                  Corporation

15-cv-03880                       CALVIN, Robin and Billey Calvin vs. Boston Scientific
                                  Corporation

15-cv-03881                       CICCARELLO,     Antonette    vs.   Boston     Scientific
                                  Corporation

15-cv-03884                       SMITH, Georgia Dawn and Loren Lee Smith vs. Boston
                                  Scientific Corporation

15-cv-03885                       SHEPHERD, Patricia Kay Rentmeester and Eual Earl
                                  Shepherd, Jr. vs. Boston Scientific Corporation

15-cv-04171                       ERICKSON, Rhonda K. vs. Boston Scientific Corporation

15-cv-06736                       PULLIAM, Angela and Carlton Pulliam vs. Boston
                                  Scientific Corporation
15-cv-06741                       HARDY, Patricia vs. Boston Scientific Corporation

15-cv-06743                       HANNAH, Sarah vs. Boston Scientific Corporation

15-cv-06765                       BEAUMONT, Margaret and Gregory Szewczyk vs.
                                  Boston Scientific Corporation

15-cv-06769                       SMITH, Nancy Jane White vs. Boston Scientific
                                  Corporation

15-cv-06782                       AUSTIN, Sandra and Bernard Austin vs. Boston
                                  Scientific Corporation

15-cv-07239                       GAMBILL, Jamie Elizabeth and John Howell Busbee vs.
                                  Boston Scientific Corporation

15-cv-16019                       DUBOSE, Crystal and Steven DuBose vs. Boston
                                  Scientific Corporation

15-cv-16077                       RANDOLPH, Sonja and Earl Randolph vs. Boston
                                  Scientific Corporation

15-cv-16466                       PLUMMER, Mickey and Patrick Plummer vs. Boston
                                  Scientific Corporation




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15-cv-16468                       GORDON, Teresa vs. Boston Scientific Corporation

16-cv-03003                       HASENKAMP, Shannon and Gary Hasenkamp vs.
                                  Boston Scientific Corporation




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